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IT IS SO ORDERED.


HONORABLE SARA LIOI
UNITED STATES DISTRICT JUDGE          IN THE UNITED STATES DISTRICT COURT
November 9, 2020                       FOR THE NORTHERN DISTRICT OF OHIO

           SYMBOLOGY INNOVATIONS, LLC,
                                                              Civil Action No.: 1:20-cv-01824-SL
                         Plaintiff,

                    v.                                        TRIAL BY JURY DEMANDED

           SWAGELOK COMPANY,

                         Defendant.

                                           JOINT MOTION TO DISMISS

                    Now come Plaintiff, Symbology Innovations, LLC, and Defendant, Swagelok Company,

          by and through their undersigned counsel, pursuant to Fed. R. Civ. P. 41, and hereby move this

          Court to dismiss all claims against Defendant Swagelok Company WITH PREJUDICE and all

          counterclaims against Plaintiff Symbology Innovations, LLC WITHOUT PREJUDICE, with each

          party to bear its own attorneys’ fees and costs. The parties believe that the Motion to Dismiss

          currently pending [D.E. 10] in this matter is now moot.

           Dated: October 15, 2020                Respectfully submitted,

                                                  SAND, SEBOLT & WERNOW CO., LPA

                                                  /s/ Andrew S. Curfman
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                                       ATTORNEYS FOR DEFENDANT
                                       SWAGELOK COMPANY


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on October 15, 2020, to all counsel of record who are deemed to have consented

to electronic service via the Court’s CM/ECF system.



                                                   /s/ Andrew S. Curfman
                                                   Andrew S. Curfman




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